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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   HOT SPRINGS DIVISION

CHRISTOPHER PHILLIPS, Individually and on                                               PLAINTIFF
Behalf of All Others Similarly Situated

v.                                  Case No. 6:23-cv-6055-SOH

OAKLAWN JOCKEY CLUB, INC.                                                       DEFENDANT

       DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
     CONDITIONAL CERTIFICATION, FOR APPROVAL AND DISTRIBUTION OF
         NOTICE AND FOR DISCLOSURE OF CONTACT INFORMATION


I.      Introduction

        The Defendant Oaklawn Jockey Club, Inc. (Oaklawn) acknowledges and respects the

Court’s decision in Wilson v. Oaklawn Jockey Club, Inc., Case 6:22-cv-06041 SOH (W.D. Ark.)

(Doc. 23) regarding adherence to the two-tiered approach to collective actions.                 Oaklawn

nonetheless would like to preserve its arguments regarding the collective action standard in this

matter and respectively ask the Court to reconsider its prior decisions in light of the circumstances

of the present matter. Also, the Wilson briefing and opinion did not address the Fifth Circuit’s

decision in Swales v. KLLM Transportation Services, LLC, 985 F.3d 430 (5th Cir. 2021) rejecting

the two-tiered approach and expressly rejecting the suggestion the Fifth Circuit had previously

endorsed the two-tiered approach in cases such as Mooney v. Aramco Services Co., 54 F.3d 1207

(5th Cir. 1995). While Oaklawn understands the Court’s prior rulings, Oaklawn respectfully

requests the Court to entertain this argument again in light of the persuasive opinion in Swales and

the circumstances of this case, which are different than Wilson.

        The need for reconsideration of the two-tiered approach is not merely academic. The

empirical outcomes from the rise in FLSA litigation in the federal courts of Arkansas show that the

lenient standard of certification has led to stirring up of litigation and artificial fee generation using


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tactics that have come under heavy criticism from most all federal judges in the state as well as

judges at the Eighth Circuit.

         The pattern is largely the same and most often, as is the case here, involves an early motion

to conditionally certify a collective action. Once granted under the current lenient standard, other

employees and former employees are solicited to join a lawsuit with unknown merit and little review

of their similarly situated status. Often the opt-ins are not even ultimately eligible to participate.

The number of opt-ins can artificially inflate the value of a weak case as there is strength in numbers.

The notice procedure operates as direct-mail advertising for the plaintiff’s law firm. This is a foreign

concept in any other area of civil law. The original concept, to cut down on litigation via duplicitous

lawsuits, has been lost. The defendant must now defend the case as a class action and conduct

discovery regarding the opt-in plaintiffs. This artificially increases the cost of defense of a case,

and it changes the economics and calculus of whether the defendant should settle the matter, again

regardless of the merit of the case. In abandoning the two-tiered approach, the Fifth Circuit has

recognized these danges. See Swales, supra.

         This process also artificially inflates the settlement value of the case, regardless of the merit,

as these additional opt-in plaintiffs have to be included in the settlement and consideration

exchanged to dispose of their claims. The only alternative to a settlement is for a defendant to pay

the expense necessary to defend the claims of all class members, conduct class wide discovery

simultaneously as to the merits of the claims and as to whether the class members are similarly

situated, and prepare a motion to decertify the class.

         If the motion to decertify is successful, the best-case scenario for the defendant is they have

incurred this expense and time lost merely to get back to square one – a single plaintiff with a single,

claim.    But in most instances, the defendant ends up in a worse position having won the

decertification motion. The reason for this is the damage is already done via the solicitation notices.


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The defendant must now defend against the individual claims of former opt-in plaintiffs who were

only solicited to join the case in the first place under the auspices they were similarly situated and

that the case was conditionally certified as a collective action. See e.g., McCoy v. Elkhart Products,

Inc. No. 5:20-cv-5176-PKH (W.D. Ark.)(motion to decertify granted when alleged facts supporting

conditional motion proven to be untrue); Mix v. Elkhart Products, Inc., 5:21-cv-5102-TLB (W.D.

Ark.)(solicited “class member” failed to timely elect to join McCoy, but was filed separate claim

after solicitation); Alverson v. Elkhart Products, Inc., No. 5:21-cv-5191-PKH (W.D. Ark.)(former

McCoy opt-in’s subsequent suit after decertification).

        The conditional certification and additional opt-in plaintiffs also artificially multiply how

the plaintiff’s firm values their attorneys’ fee. This is how the two-tiered approach to collective

action motions has stirred up litigation over the last decade as well as facilitated the framework for

issues surrounding counsel’s fee petitions.

        Under Phillips’ interpretation of the notice stage of the two-tiered approach as it has evolved,

the Court’s role is to normally approve the collective action without any scrutiny of the proof

proffered, order the defendant to produce the solicitation list of other current and former employees,

and approve the solicitation notice. In this analysis, once a plaintiff avers they have been the victim

of an FLSA violation and others have as well, that should end the discussion of whether a collective

action should be conditionally certified. Given the harm that befalls or can befall a defendant when

these notices are sent, equity requires more balance in this decision before court-sanctioned notices

are sent.

        This approach creates an environment ripe for abuse and stirring up of litigation using a

unique procedure in the civil justice system. On its face, it is unusual for an attorney to send court-

sanctioned solicitations to join litigation to individuals that plaintiff’s counsel has identified through

court ordered disclosure of names and addresses from the adverse party. This solicitation notice


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does not include any associated costs or risk to the individual for participating. The lenient standard

has taken too much discretion away from the Court to manage the case and control solicitations to

the public to join litigation of unknown merit.

        Neither the FLSA nor any other controlling authority require this two-tiered approach. The

purpose of the collective action procedure is to consolidate claims of a similar nature to reduce

multiplicity of suits. That has not been the experience in Arkansas in the last decade. To the

contrary, the FLSA collective action procedure has multiplied and stirred up litigation. For example,

in McCoy v. Elkhart, when Defendant filed a meritorious motion to decertify, Plaintiff responded

with a suggestion she simply be allowed to file an amended complaint with over 40 members of the

collective as named Plaintiffs. See McCoy, 5:20-cv-5176 [Doc. 56 and 56-1]. After the Court

rejected that suggestion and decertified the collective, Id. [Doc. 61], Plaintiff ignored the previous

order and simply filed the proposed amended complaint as a new action with the same 40+ Plaintiffs.

        The Fifth Circuit, which is the source of the authority cited in Wilson, supra, for the two-

tiered approach (see Mooney, supra) has rejected the two-tiered approach in a thorough, well-

reasoned decision. Swales, supra. The balanced approach articulated in Swales avoids the stirring

up of litigation and still results in certification of legitimate collective actions. There is no precedent

preventing the Arkansas federal courts, including this Court, from following suit. The Circuit Court

of Appeals cited as the basis for the two-tiered approach via Mooney has now even abandoned it.

        Phillips has moved for conditional certification to solicit others who are purportedly

“similarly situated.” The crux of Phillips’ claim is that Oaklawn misclassified him and others in the

Slot Technician Supervisor position as exempt from overtime under the executive exemption of the

FLSA and Arkansas Minimum Wage Act. Under any standard, Phillips’ motion should be denied

in whole or in part. Phillips has alleged key facts that are unique to himself and improperly expanded




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the scope of the proposed class based on his limited tenure and the current status of the position.

(Affidavit of Eric Gilson, attached hereto as Exhibit A, hereinafter “Gilson Aff.”)

II.      Factual Background

         Phillips worked for Oaklawn most recently as a Slot Tech Supervisor from May 2021 until

October 2022. As such, he was classified as a salaried exempt supervisor. (Gilson Aff.) Oaklawn

paid him a salary of $795.67 per week. (Gilson Aff.) As part of his duties, he was charged with

supervising a particular shift (day shift most often in Phillips’ case) and the two to four Slot

Technicians on his shift at any given time. (Gilson Aff.) Slot Tech Supervisors had other duties

associated with slot machines in the casino and training the subordinate Slot Technicians. Phillips

claims he had no authority to hire or fire employees and claims his input on such decisions was not

given particular weight. Oaklawn, however, has disciplinary documents drafted by Phillips, which

relate to his input regarding discipline that ultimately led to discharge of a subordinate. (Gilson

Aff.) Phillips documented several one-on-one conversations with his subordinate Slot Technicians

regarding coaching for performance issues and attendance.

         Oaklawn no longer has a position of Slot Tech Supervisor as of January 1, 2023. (Gilson

Aff.) Oaklawn restructured this department to eliminate that job title. Phillips is mistaken that Kelly

Mayo is currently a Slot Tech Supervisor (see Doc. 10-6, Paragraph 27). She is a Slot Technician

III, which is an hourly non-exempt position. 1 During the majority of Phillips’ most recent stint of

employment as a Slot Tech Supervisor, there were only three other individuals who held the job title

of Slot Tech Supervisor. (Gilson Aff.)




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 These type of verifiable factual misrepresentations that a plaintiff can get away with in a lenient two-tiered approach
highlight the inefficiencies and unfairness of that approach. Very basic documents in discovery could establish facts
such as these versus artificially taking a plaintiff’s claims at face value to facilitate a lenient “notice stage.”


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III.      Discussion

A.        The Court should decline to conditionally certify a class.

       i. Applicable Standard for Conditional Class Certification

          Oaklawn maintains this matter is not appropriate for certification using any approach,

including the two-tier majority analysis. Bishop v. Petro-Chemical Transp., LLC., 582 F.Supp.2d

1290 (E.D. Cal. 2008). It is time, nonetheless, for the federal courts in Arkansas to reexamine the

efficiency and appropriateness of the two-tier analysis.

          -   There is no binding authority requiring use of the two-tier analysis.

          The code section authorizing opt-in collective actions, 29 U.S.C. § 216(b), is silent as to how

to define similarly situated individuals and as to a procedure for processing such claims. There is

also no binding United States Supreme Court or Eighth Circuit authority requiring district courts in

Arkansas to use any particular method to determine at what stage notice is appropriate to putative

class members.

          In Wilson, this Court cited to Murray v. Silver Dollar Cabaret, Inc., 2017 U.S. Dist. LEXIS

17462, No. 5:15-cv-5177-PKH (W.D. Ark. Feb. 8, 2017) for the proposition that the prevailing

approach of courts within this circuit is the two-step process set forth in Mooney, supra. In Murray,

the Court stated, “Nonetheless, the Court finds it appropriate to emphasize that nothing in Eighth

Circuit or United States Supreme Court precedent requires district courts to utilize this approach;

rather, ‘[t]he decision to create an opt-in class under § 216(b), like the decision on class certification

under Rule 23, remains soundly within the discretion of the district court.’” Murray, *4. As noted

herein, the Fifth Circuit never actually adopted the two-tiered approach in Mooney, and the Fifth

Circuit has now expressly rejected the two-tiered approach in Swales.

          When backtracking through the district court opinions in Arkansas for the source of the

reliance on the two-tiered method, most courts rely on the fact that it has been the prevailing method


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within the circuit with a citation to an earlier district court case and no further analysis or discussion.

For example, Judge Holmes in Murray cited back to Resendiz-Ramirez v. P & H Forestry, L.L.C.,

515 F. Supp. 2d 937, 940 (W.D. Ark. 2007) for the proposition that most district courts in the Eighth

Circuit use the two-tiered approach. The Murray opinion has no further discussion or analysis of

why the Court adopted that approach in that particular matter. Murray, *4. In Resendiz-Ramirez,

the Court relied on the fact that the majority of other district courts in the Eighth Circuit use the two-

tiered approach without further analysis or discussion.

        While precedent is obviously a key touchstone of American jurisprudence, changing

circumstances and experience should advise future decisions, especially on discretionary matters of

procedure. Moreover, the Fifth Circuit thoroughly considered and rejected the idea there was any

precedent for the two-tiered approach. Swales, 985 F.3d at 440 (noting the two-stage process might

be common practice, “[b]ut practice is not necessarily precedent.”) The circumstances of FLSA

collective actions in sixteen years ago in 2007 when Resendiz-Ramirez was decided have changed.

The model that was sufficient at that time has proven to no longer be efficient or in the best interests

of judicial economy as explained herein. Since 2007, Arkansas federal courts have seen an

exponential rise in FLSA/collective action litigation. With this surge of collective actions has come

unnecessary expenses as well as stirring up of litigation and attorneys’ fees. What has also come

are lessons from a lot of experience that should guide future decisions instead of the “inertia,” as the

Fifth Circuit stated, of using the two-tiered approach for the sole reason it has been the predominant

approach in the past.

        The Fifth Circuit makes several important points in rejected the two-tiered approach in favor

of an approach that gives the district court more discretion to determine if a collective action is in

fact appropriate before solicitation notices are sent and if so, who should get notice. The Court

noted district courts should not be captive by the “inertia” of other courts that have followed Lusardi


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v. Xerox Corp., 99 F.R.D. 89 (D.N.J. 1983). The Fifth Circuit held that the district court “must

rigorously scrutinize the realm of ‘similarly situated’ workers, and must do so from the outset of the

case, not after a lenient, step-one ‘conditional certification.’” Swales, 985 F.3d at 434. The

justification for this standard was that so notice would only go to those individuals who are actually

similarly situated. Id. Otherwise, sending notice to those individuals who cannot ultimately

participate “merely stirs up litigation, which is what Hoffman-La Roche flatly proscribes.” Swales,

985 F.3d at 441.

        Notably, the Fifth Circuit identified two dangers of collective actions in reasoning why it

was so important to get the notice provision correct.        First, “the opportunity for abuse (by

intensifying settlement pressure no matter how meritorious the action),” and “the appearance of

court-endorsed solicitation of claims (by letting benign notice-giving for case-management purposes

warp into endorsing the action’s merits, or seeming to, thus stirring up unwarranted litigation).”

Swales, 985 F.3d at 435. These dangers have manifested into real prejudicial results in the federal

courts of Arkansas. The primary reason being the ease of getting a collective action conditionally

certified under the two-tier approach. The plaintiff, with minimal proof of similarly situated status

and no proof of the merit of any claim, can obtain permission to solicit more plaintiffs. Defendant,

in agreement with the Fifth Circuit, suggests this approach is backwards, and the Court should be

more certain there is a common claim warranting an unsolicited notice, sanctioned by the Court

under the style of a case, to join a lawsuit.

        The leading United States Supreme Court case on the general topic, Hoffman-La Roche, Inc.

v. Sperling, 493 U.S. 165 (1989), concerned whether any court approved notices were appropriate,

period. The case did not address the timing or standards utilized for determining when to send such

notices, leaving that to the trial court’s discretion. If anything, Hoffman-La Roche analogized the §

216(b) procedure with Fed. R. Civ. P. 23 for the purposes of deeming notices to putative class


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members as necessary. Id. at 171. Finally, Hoffman-La Roche is clear that the trial court has

discretion in administering the notice required, but that discretion should be used scrupulously to

respect judicial neutrality. Id. at 174.

        There is nothing obvious in the legislative history of § 216(b) that would dictate use of the

two-tier analysis. See William C. Jhaveri-Weeks & Austin Webbert, Class Actions Under Rule 23

and Collective Actions Under the Fair Labor Standards Act: Preventing the Conflation of Two

Distinct Tools to Enforce the Wage Laws, 23 Geo. J. on Pov. L. & Policy 233, 238-243 (2016). The

literature points out that in the early years of the FLSA, courts mainly relied on the “spurious” class

action procedures of the former, pre-1966 version of Fed. R. Civ. P. 23 for FLSA opt in collective

actions. Id. at 238-241.

        -   History of two-tier analysis.

        Many authorities point to Mooney v. Aramco, 54 F.3d 1207 (5th Cir. 1995) as the source or

primary authority for the two-tiered approach. The Fifth Circuit in Swales, however, rejected the

idea they had ever sanctioned the approach. Swales, 985 F.3d at 439 (“This is mistaken.”)

        Here is how Mooney addressed the question at the time:

                         The first line of cases is typified by Lusardi v. Xerox Corp.,
                 and represents the method followed by the trial court in this matter.
                 Lusardi and its progeny are remarkable in that they do not set out a
                 definition of “similarly situated,” but rather they define the
                 requirement by virtue of the factors considered in the “similarly
                 situated” analysis. In other words, this line of cases, by its nature, does
                 not give a recognizable form to an ADEA representative class, but
                 lends itself to ad hoc analysis on a case-by-case basis.

                         Under Lusardi, the trial court approaches the “similarly
                 situated” inquiry via a two-step analysis. The first determination is
                 made at the so-called “notice stage.” At the notice stage, the district
                 court makes a decision--usually based only on the pleadings and any
                 affidavits which have been submitted--whether notice of the action
                 should be given to potential class members.




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                         Because the court has minimal evidence, this determination is
                 made using a fairly lenient standard, and typically results in
                 “conditional certification” of a representative class. If the district
                 court “conditionally certifies” the class, putative class members are
                 given notice and the opportunity to “opt-in.” The action proceeds as
                 a representative action throughout discovery.

                         The second determination is typically precipitated by a motion
                 for “decertification” by the defendant usually filed after discovery is
                 largely complete and the matter is ready for trial. At this stage, the
                 court has much more information on which to base its decision, and
                 makes a factual determination on the similarly situated question. If
                 the claimants are similarly situated, the district court allows the
                 representative action to proceed to trial. If the claimants are not
                 similarly situated, the district court decertifies the class, and the opt-
                 in plaintiffs are dismissed without prejudice. The class
                 representatives--i.e. the original plaintiffs--proceed to trial on their
                 individual claims. Based on our review of the case law, no
                 representative class has ever survived the second stage of review.

Mooney, 54 F.3d at 1213-1214 (emphasis added).

        The opinion states that the trial judge used this approach, but it is silent as to the particulars

of what information was presented at the first stage that the trial court found sufficient to send notice.

The Court went on to specifically state this about the two-tiered approach:

                         We find it unnecessary to decide which, if either, of the
                 competing methodologies should be employed in making an ADEA
                 class certification decision. From the record, it is apparent that in this
                 case, no matter how we analyze the similarly situated requirement, we
                 cannot say that the district court abused its discretion in finding that
                 the “opt-in” plaintiffs were not similarly situated. In so holding we
                 specifically do not endorse the methodology employed by the district
                 court, and do not sanction any particular methodology. We simply
                 need not decide the appropriate methodology under these facts, and
                 therefore leave that inquiry for another day.

Mooney, 54 F.3d at 1216.

        Despite being the bedrock opinion for use of the two-tiered approach, even the Mooney

opinion itself goes out of its way to not endorse the methodology. Mooney is also no longer good

law to the extent it was authority for the two-tiered approach in the Fifth Circuit. The Court that



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authored Mooney has recently recanted both the two-tiered approach itself and the suggestion the

Court had ever sanctioned the approach in the first place. See Swales, supra.

        The opinions in Mooney, Swales and other cases, see Madden v. Lumber One Home Center

of Stuttgart, Inc., 2010 U.S. Dist. LEXIS 127558 (E.D. Ark. 2010), point to Lusardi v. Xerox Corp.,

99 F.R.D. 89 (D.N.J. 1983) as an early adopter of the two-tiered approach. That opinion focuses on

the inappropriateness of maintaining a Rule 23 class action alongside a § 216(b) opt in collective

action and the appropriateness of any notice at all as the case was pre-Hoffman-La Roche. Notably,

the Lusardi court dropped this footnote when confirming that notice would go out to putative class

members:

                 At oral argument on July 11, 1983, the Court set up a 45 day discovery
                 period for the purpose of establishing the number of persons similarly
                 situated to named plaintiffs. Once this discovery is complete,
                 plaintiffs may move to certify a specifically described class to whom
                 notice will ultimately be sent.

Lusardi v. Xerox Corp., 99 F.R.D. 89, 93, n.8 (D.N.J. 1983).

        Therefore, in one of the leading early adopter opinions of the two-tiered approach, the court

at least called for some discovery to determine the appropriateness and scope of the class.        It

apparently did not simply rely on allegations in the complaint or conclusory declarations of the

plaintiff to decide the matter. The approach actually used in Lusardi, which included discovery, is

not how courts apply the two-tiered approach today. Under the Federal Rules, parties cannot start

discovery if a motion for conditional certification comes before the Rule 26 conference.

        -   Analysis of two-tiered approach versus other approaches

        The Swales opinion has a good, well-cited, discussion of the history of the different

approaches to when notice should issue in purported collective actions. Swales, 985 F.3d at 436-7.

In addition to the two-tiered approach, there is the Rule 23 approach in Shushan v. University of

Colorado, 132 F.R.D. 263 (D. Colo. 1990). The Court in Shushan concluded:


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                         I cannot accept the extraordinary assertion that an aggrieved
                 party can file a complaint, claiming to represent a class whose
                 preliminary scope is defined by him, and by that act alone obtain a
                 court order which conditionally determines the parameters of the
                 potential class and requires discovery concerning the members of that
                 class. Before I conditionally determine the scope of the class,
                 plaintiffs will need to satisfy me that there exists a definable,
                 manageable class and that they are proper representatives of the class.
                 They will, in other words, need to show that they satisfy the
                 requirements of Rule 23 or convince me that a particular requirement
                 is inconsistent with 29 U.S.C.A. § 216(b). When that showing is
                 made, I will consider the question of notice under the guidelines set
                 forth in Rules 23(c) and 23(d) and in Hoffmann-La Roche, Inc. v.
                 Sperling, 493 U.S. 165, 110 S. Ct. 482, 107 L. Ed. 2d 480 (1989).

Id. at 268.

        The Shushan opinion was over thirty years ago and was outside the context of what has

happened in Arkansas federal courts over the last ten years with respect to FLSA litigation. The

Court in Shushan was alluding to the opportunity for abuse that is associated with a lax standard for

a party to establish a putative collective action, and associated mass solicitation notices.

        The Swales opinion does not adopt either approach but instead adopted new approach to

ascertain whether solicitation notices are appropriate.

                         Instead of adherence to Lusardi, or any test for "conditional
                 certification," a district court should identify, at the outset of the case,
                 what facts and legal considerations will be material to determining
                 whether a group of "employees" is "similarly situated." And then it
                 should authorize preliminary discovery accordingly. The amount of
                 discovery necessary to make that determination will vary case by
                 case, but the initial determination must be made, and as early as
                 possible. In other words, the district court, not the standards from
                 Lusardi, should dictate the amount of discovery needed to determine
                 if and when to send notice to potential opt-in plaintiffs.


Swales, 985 F.3d at 441.




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        -   This Court should follow the lead of the Fifth Circuit in a more reasoned, deliberate
            approach before sending out solicitation notices.

        The Fifth Circuit’s opinion does a masterful job outlining the issues associated with the two-

tiered approach to certification of collective actions in FLSA cases. The dangers expressed in that

opinion about the lenience of the two-tiered approach have played themselves out over and over in

this jurisdiction. Often the Court is shielded from the prejudice and inefficiency associated with a

conditionally certified collection action with no merit to the underlying claim. The Court is not

privy to the particulars or details of the settlement negotiations for these claims and how a

conditionally certified collective action, even in a little to no merit case, can exert “formidable

settlement pressure,” as the Court stated in Swales. 985 F.3d at 436.

        This concept that the merits of the similarly situated status of the plaintiff and putative opt-

in class members should not be or is not considered at the notice stage is both illogical and a logical

fallacy. The Fifth Circuit recognizes that there is no real justification for a district court to have to

artificially ignore certain types of evidence at an artificially created “stage” of a case. This is

especially true when there is no precedent for such an approach in the text of the governing statute

or from a holding of a higher court. The idea the “merits” are not considered is also a logical fallacy,

because the Court must consider the merits of the request to some degree to conditionally certify the

class. The Court is not a rubber stamp. In the same opinions where courts recite this standard, they

go on to make merits determinations that a conditional certification is appropriate.

        Phillips’ position is that the lenient standard at the notice phase is, in effect, a prohibition on

any review or consideration of Oaklawn’s proof that refutes his. This concept rubs against the notion

of due process, fairness and judicial impartiality, and the Court is not required to accept this concept

to properly and efficiently manage an FLSA collective action. The Fifth Circuit has rejected it.




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        This prejudice is particularly harmful in light of the consequence.             The impact of a

conditional certification is that the defendant must spend attorneys’ fees, time and resources to

conduct class-wide discovery and prepare a motion to unwind the collective action. Even when the

collective is properly dismissed, the defendant often faces numerous additional claims that would

not exist but for the notice that, in hindsight, should have never been sent.

        Most any argument against the use of a different standard in lieu of the Mooney two-tiered

analysis is misplaced. The current procedure has evolved because it is convenient, at least on the

front end, for the courts and employees’ counsel. In light of the discovery mentioned in Lusardi,

the standard has been watered-down and whittled away by a misapplication that no consideration of

any of defendant’s proof is permitted if it contradicts plaintiff’s bare allegations.

        It is an easier standard to apply that can evade appellate review because it is not an appealable

final order. The court always has the opportunity to de-certify the class near or at the end of

discovery. This is of little solace to a defendant and is prejudicial to their interests in the case. After

a conditional certification is granted, a defendant has to conduct discovery often for a much larger

group of parties that is appropriate or necessary. If the defendant objects to the collective action

after that expensive process, it must file a well-supported motion (contrasted with the minimal

showing the plaintiff has to make at the notice stage) to undo the conditional certification. A

defendant who has successfully de-certified a conditionally certified collective action has no

recourse against the plaintiff for the misclassified action. The defendant is left to pay to unwind

something that perhaps should have never been wound. This is an unjust and unnecessary result.

        Another argument in favor of a liberal and freely granted conditional certification early on

in the case is the effect of the statute of limitations. The statute for opt-in plaintiffs does not stop or

toll until they opt in. Therefore the argument goes it is imperative they get notice of the case as

soon as possible, as compared to Fed. R. Civ. P. 23 class members who get the benefit of the original


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filing date of the complaint. This ignores the basic premise that the statute of limitations on all

claims always continues to run until a case is filed. In other areas of the law, the courts do not view

this as a basis for alerting any potentially similarly situated individual that has a similar claim against

a defendant they need to file or join a lawsuit. The filing of a collective action without prompt

notice to potential opt-in members does not prejudice the potential opt-in or lull them into inaction

to prohibit them from protecting their rights. Most often, potential opt-in plaintiffs are never even

aware of the case until they get the notice. A potential opt-in can file their own lawsuit or claim

with the Department of Labor, and they can do so whether a collective action was ever filed or not.

Finally, there is always the possibility of equitable tolling when a court sees fit. In short – there is

no valid reason to rush to a hasty decision on certification.

        Looking back to the original purposes of collective actions articulated in Bayles and

Hoffman-La Roche, the current model has strayed from effectuating those purposes. Initially, the

Bayles decision points out that the holding of Lusardi counsels that the court should consider the

purposes and putative benefits of a collective action in deciding whether to grant certification.

Lusardi is one of the primary sources of authority cited for the two-tiered approach. Yet the current

two-tiered method, as applied, has abandoned individualized consideration of whether conditional

certification is consistent with the purpose of § 216(b) and consideration of any potential benefits

of a collective action in any particular matter.

        The first purpose articulated in Hoffman-La Roche was allowing plaintiffs to pool resources.

The reality of the situation is that plaintiffs are not bearing their own costs in these matters to begin

with, regardless if there is a collective action certified or not. Based on submission by attorneys

with fee petitions in these matters, their counsel generally are employed under a contingency fee or

structured arrangement where the attorneys will pay or at least advance the costs of litigation to the

plaintiff. A review of the dockets in the Eastern and Western District reveal a good number of


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individual plaintiff, non-collective action, FLSA and AMWA cases as well filed by a few different

firms. In other words, individual employees in Arkansas with FLSA claims have no shortage of

available ready to take their case. Rarely, if ever, are out of pocket fees charged by counsel to the

plaintiffs in these cases.

        The second purpose was to consolidate common issue of law and fact into one proceeding.

The surge of these cases demonstrates the current two-tier procedure has had the opposite effect.

As opposed to causing fewer of these cases consolidated to decide common issues, the majority

approach has resulted in far more. The reason for the increase of collective action FLSA cases is in

part how easy it is to get a collective action conditionally certified and exponentially (and often

artificially) raise the settlement value of a case regardless of merit, as explained herein and in Swales.

        The current system results in notices going out, under the Court’s style. This serves as an

invitation to individuals to participate in litigation without any initial evaluation from the Court as

to whether a collective action is an appropriate procedure beyond review of a plaintiff’s own self-

serving affidavit. Oftentimes discovery reveals the affidavit is inaccurate, but the damage is done.

The Fifth Circuit’s holding is that a district court violates the in Hoffman-La Roche if notice is sent

to an individual who is ultimately deemed not eligible to participate in the collective action. Swales,

985 F.3d at 441-442.

        Some cases are more efficiently conducted as a collective action. The courts can use initial,

targeted discovery to make a more reasoned and accurate determination on what cases are

appropriate for collective action status. Importantly, this can be done before solicitation notices are

sent out to individuals who may or may not be eligible to participate. The current two-tiered model

does not give the trial court any chance to weigh the merits or efficiencies of allowing a matter to

proceed as a collective action. Even the early cases adopting the two-tiered method provided the

opportunity for some discovery to guide the Court at the notice stage. See Lusardi, supra.


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         This Court should review the assertion the trial judge in Shushan could not accept and

determine if it is appropriate that federal courts in Arkansas continue to accept it today. The Fifth

Circuit has refused to accept it. The two-tier approach should be reevaluated in light of the current

litigation climate and how the current method has been utilized. In its place, the Court should follow

the lead of the Fifth Circuit and adopt the Swales procedure. This will allow the courts to be in a

better position to be a gatekeeper for these matters.

         If the Court were to adopt this approach, additional discovery and briefing would likely be

required to determine if Phillips has satisfied his burden to proceed as a collective action with

corresponding notices. At minimum, Defendant should be allowed to depose Phillips regarding his

declarations prior to the Court ruling on the present motion.

         ii.     Conditional certification should be denied even using the two-tiered approach.

         Even if the Court were to apply the traditional two-tiered approach, conditional certification

is still inappropriate at the notice stage. Neither the FLSA nor the Eighth Circuit has defined

“similarly situated”. Nevertheless, this Court has considered several factors to determine whether

employees are similarly situated, including:

         (1) whether the plaintiffs hold the same job title; (2) whether they worked in the same
             geographic location; (3) whether the alleged violations occurred during the same
             time period; (4) whether the plaintiffs were subjected to the
             same policies and practices; and (5) the extent to which the acts constituting the
             alleged violations are similar.

Zezanski v. First Step, Inc., 2017 U.S. Dist. LEXIS 224814, at *6 (W.D. Ark. 2017); McLendon v.

Schlumberger Tech. Corp., No. 4:15CV00752 JLH, 2016 WL 3911897, at *2 (E.D. Ark. July 15,

2016).

         An analysis of the factors demonstrates the present matter is not appropriate for conditional

certification.




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        -   Same job title

        During the majority of Phillips’ most recent tenure, there are only three other individuals

who had the same job title. A fourth worked with Phillips for approximately one month. (Gilson

Aff.) Phillips estimates the number as five total in the time period back to May 2020, which was

year before he started his most recent stint of employment. (Doc. 10-6, Paragraph 4) The job title

no longer exists at Oaklawn as of January 1, 2023. (Gilson Aff.) Phillips is incorrect that Kelly

Mayo is a Slot Tech Supervisor. She is a Slot Technician III. The limited scope of the class based

on the job title demonstrate the matter is not appropriate for a collective action.

        -   Same period of time

        Phillips’ most recent tenure as a Slot Tech Supervisor was between May 2021 and October

2022. Therefore, it is not appropriate to extend the scope of the class beyond his tenure. One court

in the Eastern District of Arkansas has correctly limited the scope of a collective action to the

individuals who worked at the same time as the lead plaintiff. See e.g. Mitchell, et al. v. Brown’s

Moving and Storage, Inc., Case No. 4:19-cv-00783-LPR, Doc. 25 (E.D. Ark. January 11, 2021).

        -   Were opt-in plaintiffs subjected to the same policies and practices and the extent to
            which the acts constituting the alleged violations are similar.

        While Phillips shares a job title with four other individuals who worked during his most

recent tenure, they are not necessarily subject to the same policies and practices. Specifically,

Phillips’ declaration states that, “I did not have the authority to hire or fire any other employee, and

“I did not manage the enterprise or a customarily recognized department.” (Doc. 10-6, Paragraphs

9-10, emphasis added). Phillips is speaking for himself, unlike other paragraphs where he purports

to have knowledge of the duties of his fellow employees. While Phillips is incorrect in these

assertions, per disciplinary documents he drafted that led to a discharge (Gilson Aff.), these




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allegations are unique and limited to him on their face. They are not allegations or evidence of a

common policy or practice.

        The undisputed facts, if the parties have time for discovery, will show that Phillips and the

other Slot Tech Supervisors were exempt executives who were paid on a salary basis, managed a

particular shift, directed the work of two or more employees on their shift, and gave input into

personnel decisions that was given particular weight by the ultimate decision makers. (Gilson Aff.)

This is not a case that should be stirred up with notices going out to clearly exempt supervisors

(executives), who ultimately are going to be deemed ineligible to participate in a collective action

as the underlying claim is without merit. This is precisely the type of case were preliminary

discovery would lay bare the undisputed facts that Phillips and his colleagues were properly

classified as exempt.

B.      Plaintiff’s Proposed Means and Methods of Noticing Putative Plaintiffs are Overly
        Broad, Unduly Coercive, and Intrusive.

        If this Court grants Plaintiff’s Motion for Conditional Certification, it should not permit

Phillips to pursue the proposed methods and means of notice because they are overly broad, unduly

coercive, and intrusive. Phillips proposes notifying putative plaintiffs through several methods: 1)

an initial collective action notice sent by U.S. mail and email; and 2) a follow-up postcard to be sent

through U.S. mail or e-mail. Oaklawn objects to the form and substance of Phillips’s proposed

notice methods.

        -   Form of Notices

        This Court has previously ordered in at least two recent cases that revisions were necessary

to the Sanford Law Firm’s (SLF) Notice to putative opt-in plaintiffs. Adkinson v. Tiger Eye Pizza,

LLC, 2019 U.S. Dist. LEXIS 178897 (W.D. Ark. 2019); Turner v. Concentrix Services, 2020 U.S.




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Dist. LEXIS 16785 (W.D. Ark. 2020). SLF has ignored these orders and forged ahead with

substantially the same proposed Notice that were rejected in Adkinson and Turner.

        In Adkinson, the Court ruled that express judicial disclaimer language was appropriate and

necessary.    Specifically, the Court ordered the sentence, “The Court does not encourage or

discourage participation in this case” be added to the Notice. SLF has not included that disclaimer

language in its proposed Notice. Such notice should be included. The Court also ordered this

disclaimer to be included in the e-mail notice. SLF has not included that disclaimer in its proposed

e-mail Notice. Such notice should be included.

        Also in Adkinson, the Court ordered the following sentence be included at the beginning of

the retaliation section: “This case does not involve claims or allegations that Defendants have

retaliated against former or current employees.” SLF has not included that disclaimer language its

proposed Notice. Such language should be included.

        In Turner, the Court held that the Effect of Severance provision the plaintiff’s proposed

notice was unnecessary and should be removed. SLF has included that same proposed section again

in its notice with no argument why the Court’s decision in Turner should be reconsidered. The

language is still unnecessary, and it should be removed.

        Also in Turner, the Court held that disclaimer that the Court neither encourages nor

discourages participation in the case should go on the reminder notice. SLF has omitted that

language without explanation. Such language is appropriate and should be included. The Court

likewise ordered the reminder post card to be styled: “Reminder of Right to Join Lawsuit.” SLF has

ignored that holding and proposed the same reminder notice with the title, “Second Notice of Right

to Join Lawsuit.” The Court’s proposed title in Turner was appropriate, and it should be the title of

a reminder notice in this case.




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        -   Method of distribution

        Phillips’ request with respect to a follow up communication is vague. Phillips requests the

Court to permit a “follow-up reminder notice via email or U.S. Mail.” (Doc. 10, Paragraph 6)

Oaklawn requests that the Phillips be limited to one method or the other. Allowing both at SLF’s

discretion is unduly repetitive. The proposed follow up e-mail also omits the required judicial

claimer language.

        -   Contact information

        Phillips’ motion, brief and exhibits are silent as to any requested communication with

putative opt-ins via telephone/cell phone. Yet the request for contact information contains a request

for any and all phone numbers of which Defendant is aware for each putative class member. Phillips

has no valid reason to request or have the putative class members’ phone numbers unless he intends

to use those numbers to contact the individuals outside the scope of the Court’s approval and

management of the notice process. The scope and content of the communication with proposed opt-

ins is strictly overseen and approved by the Court. Unmonitored, unlimited, and unrestricted

telephone communication with these individuals would undermine any guiderails the Court would

impose on communication with the proposed opt-ins. This request is improper and should be denied.

        This Court gave the defendants fourteen days to produce information in both Adkinson and

Turner. Phillips asks for the information in seven days without any explanation why the Court’s

previous timeline of fourteen days was unreasonable. In the event Oaklawn is ordered to produce

information, it requests at least fourteen days to gather and produce it.

                                          CONCLUSION

        For the foregoing reasons, this Court should deny Plaintiff’s Motion for Conditional

Certification.




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